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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



Peakspeed, Inc.,                                            Civ. No. 20-1630 (JRT/BRT)

                      Plaintiff,

v.

Timothy Emerson, EmersonAI LLC, and               PRETRIAL SCHEDULING ORDER
Emerson Consulting LLC,

                     Defendants.


       Pursuant to Rule 16 of the Federal Rules of Civil Procedure and the Local Rules of

this Court, and in order to secure the just, speedy, and inexpensive determination of this

action, the following schedule will govern these proceedings unless modified by this

Court’s order. This Pretrial Scheduling Order has been tailored to the needs of the case

with the input of the parties. The parties and their counsel must diligently work to meet

all the deadlines and obligations set forth in the Order.

STIPULATED PROPOSALS TO AMEND THE SCHEDULING ORDER

       If the parties agree on proposals to amend this Pretrial Scheduling Order, a formal

motion is not necessary unless the provision below applies. Any stipulation to support a

proposed amendment must show good cause and explain how the requirements of Local

Rule 16.3 are satisfied. Agreement between the parties is not sufficient. Stipulated

proposals must be filed, and the parties must submit a proposed order in Word format to

chambers at thorson_chambers@mnd.uscourts.gov.
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MODIFICATION OF A SCHEDULING ORDER—CIRCUMSTANCES WHERE
MOTION IS REQUIRED

       If any portion of a proposed amended scheduling order seeks to resurrect an

expired deadline, or is opposed, a motion to modify the Pretrial Scheduling Order must

be made in accordance with Local Rule 16.3.

PRESERVATION OF DOCUMENTS AND ELECTRONIC DISCOVERY

       The parties have discussed any issues about preserving discoverable information.

The parties have also discussed the scope of discovery, including relevance and

proportionality. The parties agree on the following:

       At this time, the parties do not require an electronically stored information

protocol for this case, aside from the terms describing the production of source code

outlined in the Amended Protective Order. (Doc. No. 64.)


       The parties do not foresee that electronic discovery will be a significant issue in

this case and have represented they will work together to resolve any disputes.

DEADLINES FOR INITIAL DISCLOSURES AND FACT DISCOVERY

       1.     The parties must make their initial disclosures under Fed. R. Civ. P.
              26(a)(1) on or before February 19, 2021. If a description by category and
              location of the documents is offered pursuant to Rule 26(a)(1)(A)(ii), the
              party must provide a copy of their initial disclosure documents by
              February 19, 2021, to the extent they are in that party’s possession and
              control.

       2.     The parties must commence fact discovery procedures in time to be
              completed on or before September 17, 2021. 1


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       This Scheduling Order may permit discovery after other deadlines have passed. As
just one example, a motion to amend deadline may expire during the discovery period
                                                     (Footnote continued on next page)
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ADDITIONAL DISCOVERY LIMITATIONS

       The following discovery limitations apply:

       1.     No more than a total of 25 interrogatories, counted in accordance with Fed.
              R. Civ. P. 33(a), shall be served by either side.

       2.     No more than 35 document requests shall be served by each side. 2
              Objections to document requests must meet the requirements of amended
              Rule 34(b)(2)(B). If the responding party is producing copies of documents
              or copies of electronically stored information and the copies are not
              produced with the responses, another reasonable time must be specified in
              the response. If the requesting party disagrees that this is reasonable, the
              parties must meet and confer to agree on the timetable for production.

       3.     No more than 35 requests for admissions shall be served by each side.

       4.     No more than 10 factual depositions, excluding expert witness depositions,
              shall be taken by each side.

DEADLINES FOR EXPERT DISCOVERY

       Disclosure of the identity of expert witnesses under Fed. R. Civ. P. 26(a)(2)(A)

and the full disclosures required by Rule 26(a)(2)(B), and production of the written report

prepared and signed by the expert witness, must be made per the parties’ agreement,

which is set forth below:

       1.     Plaintiff anticipates calling up to 2 experts; 1 expert in the field of
              computer science and 1 expert on damages. The defendants
              anticipate calling 2 experts; 1 expert on damages and 1 expert in the
              field of high-performance computing on FPGAs. Counsel for the
              parties must meet and confer to confirm the experts and fields no
              later than April 1, 2021. This requirement is intended to avoid

(Footnote continued from previous page)
and discovery necessary to meet the deadline must be diligently pursued prior to the
expiration of the motion to amend deadline.
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       This means 35 more total document requests per side in addition to the document
requests that were previously served as part of the preliminary injunction discovery
period.

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              surprises and to allow each party to retain and work with experts
              efficiently. This early deadline also provides the parties time to
              request any amendment of the scheduling order regarding the
              sequencing of expert disclosures.

       2.     The parties must identify experts and submit required expert
              disclosures, including expert reports, as to any subject on which the
              party bears the burden of proof, completed in accordance with Fed.
              R. Civ. P. 26(a)(2)(B), on or before November 19, 2021.

       3.     The identity of any rebuttal expert who may testify in rebuttal to any
              initial expert and any rebuttal expert written report(s) completed in
              accordance with Fed. R. Civ. P. 26(a)(2)(B) must be served on or
              before December 17, 2021.

       4.     All expert discovery, including expert depositions, must be
              completed by January 21, 2022. The parties must meet and confer
              to coordinate expert depositions immediately following each
              disclosure of experts so that all expert depositions can be
              coordinated and completed on time. The parties must inform their
              experts about the deadlines for expert disclosures and depositions in
              this Scheduling Order.

       5.     Each side may call up to 2 experts. Each side may take 1 deposition per
              expert.

PRIVILEGE LOG

       Unless otherwise ordered, the parties are not obligated to identify on their

privilege logs any documents, communications, or other materials that came into

existence on or after the date that Plaintiff’s Complaint was filed in this action. Privilege

logs must be provided by the producing party within 14 days of the production from

which documents are withheld. The parties must meet and confer by March 1, 2021

regarding the format for privilege logs and ways to streamline the process and any

disputes about the format must be brought to the Court’s attention promptly.




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NON-DISPOSITIVE MOTION DEADLINES

       1.     Motions seeking to join other parties must be filed and served by June 1,
              2021. The parties must diligently pursue any investigation or discovery
              using the appropriate discovery tools available to meet this deadline.

       2.     Motions seeking to amend the pleadings must be filed and served by June
              1, 2021. The parties must diligently pursue any investigation or discovery
              using the appropriate discovery tools available to meet this deadline.

       3.     Motions seeking an amendment of the pleadings to add a claim for punitive
              damages, if applicable, must be filed and served by July 14, 2021.

       4.     Other non-dispositive motions.

              a)     All non-dispositive motions relating to fact discovery must be filed
                     and served by September 24, 2021.

              b)     All other non-dispositive motions, including motions relating to
                     expert discovery, must be filed and served by January 21, 2022.

              c)     The parties must meet and confer to resolve fact and expert
                     discovery disputes when they arise, and if unresolved, bring
                     discovery disputes promptly to the Court’s attention.

NON-DISPOSITIVE MOTIONS

       If a non-dispositive motion is filed, it must comply with the Electronic Case Filing

Procedures for the District of Minnesota, Local Rules 7.1, and for discovery motions,

also be in the form prescribed by Local Rule 37.1.

       The “Meet and Confer” requirement must include attempts to meet and confer

through personal contact, rather than solely through correspondence.

       All non-dispositive motions must be scheduled for hearing by calling the

Courtroom Deputy/Judicial Assistant to Magistrate Judge Thorson, at 651-848-1210,

prior to filing. Even if the parties agree that a motion can be submitted on the papers

without oral argument, Chambers must be contacted to set the date for submission of the
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matter to the Court. When there is no oral argument, the matter will be deemed submitted

upon receipt of the last filing. The Court will determine whether to hold a hearing.

       Ideally, if the parties are not able to resolve their dispute following their meet and

confer and motion practice is necessary, the parties should jointly contact the Court to

obtain a hearing date that works for both sides.

       Once the moving party has secured a hearing date, it must promptly serve and file

the notice of hearing informing all parties of the nature of the motion and the date, time

and location of the hearing. The moving party may serve and file the motion and

remaining motion papers no later than 14 days before the hearing date, unless a different

briefing schedule is set. A party may not call chambers and secure a hearing date or

“hold” a hearing date without that party promptly serving and filing a notice of hearing.

       Counsel may not notice additional motions for hearing on an already existing

hearing date without first contacting the Court for permission.

DISCOVERY DISPUTES (NOT INVOLVING THIRD PARTIES)

       Before formally moving for an order relating to discovery or when requesting IDR

(as provided below) the movant must request a telephone conference with the Court. This

request for a telephone conference must be made well in advance of any upcoming

deadlines relating to the discovery dispute. The movant must meet and confer with the

opposing side to make the request and coordinate the submission of a SHORT JOINT

EMAIL to chambers at thorson_chambers@mnd.uscourts.gov setting forth:

              a)     a short description of the discovery dispute;

              b)     the parties’ positions on informal dispute resolution;

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              c)     the deadline for fact discovery and how the discovery dispute affects
                     the deadline; and

              d)     possible dates and times for a telephone conference.

No attachments are permitted. The Court will either then schedule a conference call or

will set a schedule for informal dispute resolution letters and a subsequent informal IDR

telephone hearing, if necessary. The telephone conference is required to ensure that the

dispute is presented and resolved consistent with Fed. R. Civ. P. 1.

INFORMAL DISPUTE RESOLUTION (IDR) (NOT INVOLVING THIRD
PARTIES)

       Prior to initiating any non-dispositive motion, parties should consider whether the

matter can be informally resolved without a formal non-dispositive motion. All parties

must agree to participate before the Court will consider IDR. If there is no

agreement to resolve a dispute though IDR, then the dispute must be presented to

the Court through formal motion practice.

       If the parties agree to pursue the IDR process, the Court will set up the schedule

and process for informal letters to be submitted. The Court will likely set up an informal

IDR telephone hearing date. If the parties wish to proceed with IDR in a manner other

than that previewed above, the short joint email must include a specific proposal for the

Court to consider.




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DISCOVERY DISPUTES – FORMAL MOTION PRACTICE

         As discussed above, except in disputes involving third parties or pursuant to other

Court orders, the moving party must first request a telephone conference with the Court.

Local Rule 37.1 governs the form of discovery motions. Counsel must adhere to the Rule;

however, they should prepare their documents to offer a clear presentation of the

discovery dispute in an efficient and effective way. One suggested approach is set forth

below.

Insert the actual written discovery request

Insert the actual response and objections

Insert positions after meet and confer to make clear any compromise positions offered by
either side

Legal argument

Specific relief sought (the Court strongly encourages the moving party to submit a

detailed proposed order. Generic proposed orders are not helpful.)


The history and current status of the dispute should be clear to the Court without having

to cross-reference multiple exhibits.

         If a party claims that responding to discovery presents an undue burden, the

responding party must present evidence supporting this objection in their motion papers.

         The Court will give the parties permission to exceed the word limits for their

memorandum if the additional words will help avoid the need to cross-reference multiple

exhibits to understand the:

            • requests at issue;
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          • responses and basis for objections;

          • parties’ positions after their meet and confer sessions;

          • legal arguments; and

          • specific relief sought.

       If a party seeks to exceed the limits, they must obtain permission by filing and

serving a letter pursuant to Local Rule 7.1(f)(1)(D). The letter should reference this

Scheduling Order.

DISPOSITIVE MOTIONS

       All dispositive motions and supporting documentation (notice of motion, motion,

exhibits, affidavits, memorandum of law, and proposed order) shall be served and filed

by the moving party on or before March 21, 2022. All dispositive motions must comply

with Local Rule 7.1. Responses to dispositive motions shall be filed with the Court and

served on or before twenty-one days after the service of the supporting memorandum to

the original motion. Replies to responsive briefs shall be served and filed fourteen days

after the service of the response to the dispositive motion. Upon the motion being fully

briefed and filed, counsel for the moving party shall e-mail Chief Judge John R.

Tunheim’s chambers at tunheim_chambers@mnd.uscourts.gov to request a hearing date.

Upon receiving a hearing date, time, and location from Judge Tunheim’s Courtroom

Deputy, the moving party shall file the amended notice of hearing at that time.

       Notwithstanding the foregoing, no party shall bring a dispositive motion pursuant

to Fed. R. Civ. P. 56 while formal discovery is ongoing without first obtaining permission

from the undersigned magistrate judge. Permission shall be sought by electronically filing
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via ECF a letter of no more than three pages briefly setting forth the basis for the motion,

whether discovery relating to the issue or issues to be addressed by the motion is

complete, and why judicial efficiency would be served by allowing the motion to proceed

at this time. The other party or parties may file brief letters in support of or in response to

the request. Denial of a request for permission to file an interim dispositive motion shall

not be taken as an indication of the Court’s view about the merits of the proposed motion.

PROTECTIVE ORDER

       A protective order is in place. (Doc. No. 64.)

FILING DOCUMENTS UNDER SEAL

       If the parties file documents under seal, they must follow the procedures set forth

in Local Rule 5.6. This Court notes that the Committee Notes to the Local Rule are

instructive. See http://www.mnd.uscourts.gov/local_rules/LR-5-6.pdf.

PRIVILEGE/PROTECTION

       The Parties have discussed issues regarding the protection of information by a

privilege or the work-product doctrine, as required by Fed. R. Civ. P. 26(f)(3)(D),

including whether the Parties agree to a procedure to assert these claims after production

or have any other agreements under Fed. R. Evidence 502. The Parties’ agreement below

is adopted and included in this Pretrial Scheduling Order.


       (1)    If the Party producing documents (the Producing Party) discovers that it has
              produced Privileged Materials to the Party receiving the documents (the
              Receiving Party) and does not wish to waive the privilege, the Producing
              Party will notify the Receiving Party in writing that Privileged Materials,
              identified by Bates number(s), have been produced, and provide the
              Receiving Party with a privilege log identifying the Privileged Materials

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            with sufficient specificity to allow the Receiving Party to evaluate the
            Producing Party’s privilege claim(s). Within ten (10) business days of
            receiving such written notification from the Producing Party, the Receiving
            Party will:

            (A)   Return the production media containing the Privileged Materials;

            (B)   destroy all other electronic or paper copies of the Privileged
                  Materials in its possession or control; and

            (C)   Make reasonable efforts to delete the Privileged Materials from any
                  database or other medium in the Receiving Party’s possession or
                  control in which the Privileged Materials are electronically stored.

            Within five (5) business days of the destruction of all copies of the
            Privileged Materials in its possession or control, the Receiving Party will
            provide a written certification confirming such destruction to the Producing
            Party. Within ten (10) business days following the Producing Party’s
            receipt of such written notification confirming the destruction of the
            Privileged Materials, the Producing Party will provide, unless otherwise
            stipulated by the Parties, the Receiving Party with a new production media
            containing versions of all of the Documents on the original production
            media, except for the Privileged Materials.

      (2)   If the Receiving Party discovers that it has received one or more
            Documents from the Producing Party that, in the judgment of the Receiving
            Party, appear to be Privileged Materials, the Receiving Party promptly will
            notify the Producing Party in writing that such Documents have been
            produced, and will identify the Documents by Bates number(s). If the
            Producing Party notifies the Receiving Party in writing that the Documents
            are indeed Privileged Materials and that the Producing Party does not wish
            to waive the privilege, the Receiving Party will take the steps described in
            Paragraph 1 above regarding the Privileged Materials. Within ten (10)
            business days following the Producing Party’s receipt of the Receiving
            Party’s written notification confirming the destruction of the Privileged
            Materials, the Producing Party will provide, unless otherwise stipulated by
            the Parties, the Receiving Party with:

            (A)   a new production media containing versions of all of the Documents
                  on the original production media, except for the Privileged
                  Materials; and

            (B)   a privilege log identifying the Privileged Materials.


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      (3)   In connection with Documents produced by the Parties, and consistent with
            FRE 502(b), the inadvertent disclosure of any Document which is subject to
            a legitimate claim that the Document should have been withheld as
            Privileged Material shall not waive any privilege for that Document or for
            the subject matter of the inadvertently disclosed Document in the present
            case or any other federal or state proceeding.

      (4)   The Receiving Party and its agents shall not use, copy, transfer, or
            distribute any information acquired from the Privileged Materials. If the
            Receiving Party believes that a Document claimed as privileged is not, in
            fact, Privileged Material and wishes to use or disclose the Document, prior
            to taking any such action, the Receiving Party will so notify the Producing
            Party in writing, setting forth the reasons why the Receiving Party does not
            consider the Document to be privileged, and requesting the Producing
            Party’s consent prior to using or disclosing the Document. The Producing
            Party promptly will, in writing, either consent to the Receiving Party’s use
            or disclosure of the Document, or advise the Receiving Party that it
            disagrees with the Receiving Party (setting forth the reasons for this
            disagreement) and does not consent to the Receiving Party’s use or
            disclosure of the Privileged Material. If the Producing Party does not
            consent to the Receiving Party’s use or disclosure of the Privileged
            Material, the Receiving Party, in its sole discretion, may promptly take the
            necessary steps to permit the Court to conduct in camera review to entertain
            arguments from the Parties and to decide whether the document is protected
            from disclosure by the asserted privilege(s) and/or whether such protection
            has been waived or is otherwise inapplicable. In these limited
            circumstances, the Receiving Party may segregate and retain a single copy
            of the Privileged Material, solely for seeking Court determination. The
            Privileged Material will remain segregated and sealed unless and until the
            Court authorizes the Privileged Material’s use or disclosure, subject to the
            next sentence. In the event that the Court rules that the Receiving Party may
            use or disclose the Document claimed as privileged but determined to not
            be privileged or where the privilege has been deemed waived, the
            Receiving Party must continue to segregate and seal such Document only if
            the Producing Party notifies the Receiving Party in writing of its intent to
            appeal the Court’s ruling within ten (10) calendar days of receipt of the
            ruling. If the Receiving Party elects not to take the necessary steps to permit
            the Court to entertain arguments with regard to such a Document that the
            Receiving Party believes is not privileged, as to which the Receiving Party
            believes privilege has been waived or is otherwise inapplicable, the
            Receiving Party shall not use or disclose the Privileged Material, and will
            continue to comply with the provisions of this Agreement.


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       (5)    Any Privileged Material inadvertently disclosed by the Producing Party to
              the Requesting Party shall be and remain the property of the Producing
              Party.

       (6)    This Agreement is intended to be consistent with FRE 502 and is not to be
              construed to diminish either Party’s rights or obligations as therein
              described.

SETTLEMENT CONFERENCE

       A settlement conference will take place on July 23, 2021. A separate Order for

Settlement Conference will be issued.

TRIAL

       This case will be ready for a jury trial on or about July 21, 2022. The parties have

not yet estimated the length of trial. The parties will update the Court if the matter is not

resolved at the settlement conference.

Date: February 16, 2021

                                    s/ Becky R. Thorson
                                    BECKY R. THORSON
                                    United States Magistrate Judge




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